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      Paige M. Tomaselli (SBN 237737)                David F. Sugerman (pro hac vice)
  1
      Dylan D. Grimes (SBN 302981)                   Nadia H. Dahab (pro hac vice)
  2   GRIME LAW LLP                                  SUGERMAN DAHAB
      730 Arizona Avenue                             707 SW Washington Street, Suite 600
  3   Santa Monica, CA 90401                         Portland, OR 97205
  4   Telephone: (310) 747-5095                      Telephone (503) 228-6474
      ptomaselli@grimelaw.com
                                                     david@sugermandahab.com
  5   dgrimes@grimelaw.com
                                                     nadia@sugermandahab.com
  6   Gretchen Elsner (pro hac vice)
      ELSNER LAW & POLICY, LLC
  7   314 South Guadalupe Street, Suite 123
      Santa Fe, NM 87501
  8   Telephone: (505) 303-0980
      gretchen@elsnerlaw.org
  9

 10   Attorneys for Plaintiffs

 11

 12
                                UNITED STATES DISTRICT COURT

 13
                           CENTRAL DISTRICT OF CALIFORNIA

 14 SARA SAFARI, PEYMON                              Case No. 8:22-CV-01562-JWH (KES)
    KHAGHANI, on behalf of themselves
 15
    and all others similarly situated, and           PLAINTIFFS’ REPLY TO
 16 FARM FORWARD, on behalf of the                   DEFENDANTS’ OPPOSITION TO
    general public,                                  PLAINTIFF FARM FORWARD’S
 17                                                  MOTION FOR
 18               Plaintiffs,                        RECONSIDERATION

 19        v.                                        Date: September 29, 2023
 20 WHOLE FOODS MARKET                               Time: 9:00 AM
                                                     Place: 411 West Fourth Street,
 21 SERVICES, INC., a Delaware                       Courtroom 9D, 9th Floor, Santa Ana,
      corporation, WHOLE FOODS
 22 MARKET CALIFORNIA, INC., a                       California 92701

 23 California corporation, MRS.                     The Honorable John W. Holcomb
    GOOCH’S NATURAL FOOD
 24 MARKETS, INC., doing business as                 The Honorable Karen E. Scott

 25 Whole Foods Market, a California                 Complaint Filed:     August 23, 2022
    Corporation,
 26                                                  Discovery Cutoff: Not Set
                                                     Pretrial-Conference: Not Set
 27               Defendants.
                                                     Trial Date:          Not Set
 28                                                                   Case No. 8:22-CV-01562-JWH-KES
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  1                                     INTRODUCTION
  2           Farm Forward seeks reconsideration of this Court’s order, see ECF No. 75
  3 (entered July 24, 2023), on the basis of the evolving law on organizational standing.

  4 In California Medical Association v. Aetna Health Care of California, 532 P.3d 250

  5 (July 17, 2023), the California Supreme Court issued a landmark decision on

  6 organizational standing as it applies to California’s Unfair Competition Law (UCL) –

  7 the same law on which Farm Forward’s claims are based. That decision addresses

  8 federal constitutional requirements for Article III standing and relies on two U.S.
  9 Supreme Court cases that this Court previously requested that the parties address. See

 10 ECF No. 54 (ordering parties to address TransUnion, LLC v. Ramirez and Havens

 11 Realty Corp. v. Coleman).

 12           It is undisputed that, “[a]s long as a district court has jurisdiction over [a]
 13 case, then it possesses the inherent procedural power to reconsider, rescind, or

 14 modify an interlocutory order for cause seen by it to be sufficient.” City of Los

 15 Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001).

 16 This Court has inherent authority to reconsider its order with the benefit of the

 17 California Supreme Court analysis on organizational standing in UCL cases. Farm

 18 Forward requests that the Court exercise that authority here.

 19
                                          ARGUMENT
 20

 21
         I.      California Medical Association Makes Clear that the Injury-in-Fact
                 Analysis for UCL Standing and Article III Standing Are Nearly the
 22              Same.
 23
              When organizations seek to enforce the UCL, standing requirements are nearly
 24
      the same in state and federal court, which makes sense. Defendants incorrectly
 25
      contend that California Medical Association “does not examine the issue of Article
 26
      III standing or the viability of the diversion of resources theory of organizational
 27
      standing post TransUnion, LLC v. Ramirez.” ECF No. 93, at 4. Defendants further
 28
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  1 claim that “California Medical Association v. Aetna is a California case that does not

  2 analyze Article III standing whatsoever.” Id. at 12. But a plain reading of California

  3 Medical Association demonstrates that the Supreme Court addressed Article III

  4 standing, and also determined that a diversion-of-resources injury is a viable

  5 organizational standing theory post-TransUnion.

  6        The Court expressly observed that the UCL and Art. III standards are
  7 harmonious: the UCL’s “‘injury in fact’ requirement is borrowed from federal

  8 constitutional law and overlaps to a considerable degree with the ‘lost money or
  9 property’ inquiry.” Cal. Med. Ass’n, 532 P.3d at 257. The Court continued:

 10        The phrase “injury in fact” is borrowed from, and was intended to
 11        incorporate aspects of, the federal constitutional law of standing. (See
 12        Voter Information Guide, Gen. Elec., supra, text of Prop. 64, § 1, subd.
 13        (e), p. 109 [declaring intent to limit standing to plaintiffs who have been
 14        “injured in fact under the standing requirements of the United States
 15        Constitution”].) To establish a case or controversy within the scope of
 16        the federal judicial power (U.S. Const., art. III, § 2), a plaintiff in federal
 17        court “must show (1) an injury in fact, (2) fairly traceable to the
 18        challenged conduct of the defendant, (3) that is likely to be redressed by
 19        the requested relief.” (Federal Election Commission v. Cruz (2022) U.S.
 20        [142 S.Ct. 1638, 1646].)
 21        Id. at 257–58; see also id. at 258 (“As a matter of federal law, an injury can be
 22 concrete—i.e., ‘‘real,’ and not ‘abstract’’—even if the injury is personal instead of

 23 economic; even certain intangible injuries qualify as injury in fact.” (quoting Spokeo,

 24 Inc. v. Robins, 578 U.S. 330, 340 (2016); TransUnion LLC v. Ramirez, 141 S. Ct.

 25 2190, 2204 (2022)). California’s UCL incorporates the Article III injury-in-fact

 26 requirement, without “borrow[ing] the traceability and redressability requirements of

 27 the federal standing inquiry.” Cal. Med. Ass’n at 257.

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  1           State and federal courts rely on the same principles to determine if an
  2 organization has standing to enforce a consumer protection statute. In California

  3 Medical Association, the California Supreme Court acknowledged that, “[w]hile the

  4 exact question of UCL standing presented here is one of first impression in this court,

  5 it has been addressed by other courts applying California law, and closely analogous

  6 questions of federal standing have been addressed by the federal courts.” Id. at 259.

  7 As an example, the California Supreme Court cited a case from this district, Southern

  8 California Housing Rights Center v. Los Feliz Homeowners Association, 426 F. Supp.
  9 2d 1061 (C.D. Cal. 2005), demonstrating that the Article III and UCL standing

 10 requirements overlap. The Article III standing analysis of Southern California

 11 Housing Rights Center was adopted by the California Supreme Court in its seminal

 12 case, Kwikset Corp. v. Superior Court, 246 P.3d 877 (2011), which addressed

 13 standing to sue under the UCL.

 14           The California Supreme Court’s analysis in California Medical Association—
 15 which addressed standing to sue under the same statute that Farm Forward asserts

 16 here—applies to this case. This Court should consider the decision in analyzing Farm

 17 Forward’s standing under Article III.

 18
        II.      A Diversion of Resources in Response to a Threat to the
 19              Organization’s Mission, Even When the Diversion is Consistent with
                 an Organization’s Mission, Supports Organizational Standing.
 20

 21           Organizational diversion of resources includes a “diversion of resources in
 22 response to a threat to its mission.” Cal. Med. Ass’n, 532 P.3d at 260. Defendants

 23 incorrectly state that California Medical Association “also does not examine the issue,

 24 considered in the Court’s order, of whether an alleged diversion of resources merely

 25 constitutes business as usual, which does not qualify as a diversion of resources under

 26 Article III.”

 27

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  1        But the Court addressed exactly that point. There, the California Medical
  2 Association (CMA), an entity that advocates on behalf of physicians, devoted its

  3 resources to the betterment of the medical profession. Id. at 255. The fact that CMA

  4 diverted resources to challenging the Aetna policy, which it had done in furtherance

  5 of its mission, did not disqualify that diversion as “business as usual.” As the

  6 California Supreme Court held, the challenge to the Aetna policy was “diversion of

  7 resources in response to a threat to its mission”:

  8        CMA may not have incurred additional out-of-pocket costs in
  9        responding to Aetna’s allegedly illegal practices; its employees were
 10        salaried and would have been paid regardless. But the economic value
 11        CMA received from their labor was reduced. CMA “lost money or
 12        property” (§ 17204) when its personnel were diverted from other
 13        activities that would also have served its goal of assisting its physician
 14        members.
 15 Id. at 259–60.

 16        So, too, with Farm Forward. In the operative complaint in this case, Farm
 17 Forward alleges that it “expended significant resources addressing Whole Foods’

 18 misinformation, which has resulted in the organization having fewer resources to

 19 devote to its mission of ending factory farming.” FAC ¶ 80. Contrary to this Court’s

 20 order, the question is not whether “Farm Forward’s testing program was a

 21 continuation of its existing mission to end factory farming,” ECF No. 75, at 17; Farm

 22 Forward would always spend its time and money in furtherance of its mission to end

 23 factory farming. Instead, the question is whether the antibiotics testing program and

 24 related activities were a “diversion of resources in response to a threat to its mission.”

 25 It was a diversion of resources in response to a threat to its mission, as alleged in the

 26 FAC:

 27

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  1      • Whole Foods’ misrepresentations, both to Farm Forward and to the

  2         public, directly undermined Farm Forward’s activities to convince the

  3         public to make a “better choice” consistent with Farm Forward’s mission

  4         to end factory farming. FAC ¶ 87

  5      • Farm Forward expended significant staff time and organizational
  6         resources to address Whole Foods’ false advertising and to expose the
  7         confusion and misimpressions among consumers that Whole Foods had
  8         caused and continues to cause. FAC ¶ 88
  9      • To properly inform its members, supporters, and social media followers,
 10         Farm Forward invested in and initiated a new campaign designed to
 11         expose Whole Foods’ (and other companies’) false advertising of meat.
 12         FAC ¶ 91
 13
            Farm Forward’s alleged diversion of resources is analogous to the diversion of
 14
      resources suffered by the plaintiff in California Medical Association – a diversion of
 15
      resources injury in defense of the organization’s mission, not a departure from the
 16
      mission. The California Supreme Court determined that these allegations are
 17
      sufficient for organizational standing, and therefore this Court’s decision merits
 18
      reconsideration.
 19

 20
         III.   Courts Continue to Rely on Havens and Its Progeny after TransUnion.
 21

 22         In its order, this Court questioned the constitutional viability of organizational
 23 standing, specifically inquiring whether Havens Realty Corp. v. Coleman, 455 U.S.

 24 363 (1982), remains good law after TransUnion. ECF No. 75 at 14-15.

 25         Since the U.S. Supreme Court decided Havens in 1982, it has been cited more
 26 than 1,500 times. And since the U.S. Supreme Court decided TransUnion in 2021,

 27 Havens has been cited dozens of times by courts across the country. Indeed, Havens

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  1 is still consistently cited by the federal courts in the Ninth Circuit. See, e.g., E. Bay

  2 Sanctuary Covenant v. Biden, 2023 WL 4729278, -- F. Supp. 3d -- (N.D. Cal. July

  3 25, 2023) (citing Havens and finding organizational standing). In Fellowship of

  4 Christian Athletes v. San Jose Unified School District, 46 F.4th 1075 (9th Cir. 2022),

  5 Havens was cited in both the majority and dissent, without suggesting that it was no

  6 longer the law. And in Sabra v. Maricopa County Community College District, 44

  7 F.4th 867 (9th Cir. 2022), the Ninth Circuit cited Havens in both the majority and the

  8 concurrence, ultimately concluding that the plaintiff had standing.
  9        Finally, as recently as April 2023, the Fifth Circuit ruled that physician
 10 associations had Havens standing to sue the FDA regarding the abortion pill,

 11 mifepristone. All. for Hippocratic Med. v. Food & Drug Admin., 2023 WL 2913725

 12 (5th Cir. Apr. 12, 2023) (unpublished); see also ECF No. 60-2 (attached as

 13 supplemental authority). Consistent with the California Supreme Court’s diversion-

 14 of-resources analysis, the Fifth Circuit stated, “Plaintiff associations have also

 15 suffered independent injuries because FDA’s actions have frustrated their

 16 organizational efforts to educate their members and the public on the effects of

 17 mifepristone.” The Fifth Circuit affirmed the district court’s order, which had relied

 18 on both Havens and TransUnion. All. for Hippocratic Med. v. U.S. Food & Drug

 19 Admin., No. 2:22-CV-223-Z, 2023 WL 2825871 (N.D. Texas, Apr. 7, 2023); see also

 20 ECF No. 60-1 (attached as supplemental authority).

 21        Alliance for Hippocratic Medicine is particularly useful in clarifying whether
 22 “TransUnion calls into question the circumstances under which courts may properly

 23 grant organizational standing.” ECF. No. 75 at 18. In Alliance for Hippocratic

 24 Medicine, the district court, after discussing how courts assess whether an

 25 organizational plaintiff’s injury has a close relationship to a harm traditionally

 26 recognized as the basis for a lawsuit at common law (consistent with the test in

 27 TransUnion) concluded that the harm resulting from unsafe drugs is similar to harm

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  1 actionable under the common law and that the evidence of injury required to satisfy

  2 the TransUnion standard is minimal. Id. at *7 n.14 (citing Campaign Legal Ctr. v.

  3 Scott, 49 F.4th 931, 940 (5th Cir. 2022) (Ho., J. concurring)). That analysis, affirmed

  4 by the Fifth Circuit, answered this Court’s question by noting that defendants’ reliance

  5 on Spokeo v. Robins, 578 U.S. 330 (2016), was “unavailing,” and deciding that

  6 “Plaintiffs only need to show the type of harm allegedly suffered is similar in kind to

  7 a type of harm that the common law has recognized as actionable.” All. for

  8 Hippocratic Med., No. 2:22-CV-223-Z, 2023 WL 2825871, at *7 n.14 (N.D. Tex.
  9 Apr. 7, 2023) (italics in original, internal quotes omitted). Farm Forward has satisfied

 10 that standard here.

 11
                                        CONCLUSION
 12
            Defendants oppose reconsideration but correctly state that “The Court did not
 13
      analyze Farm Forward’s standing under the UCL.” ECF No. 93 at 8. Farm Forward
 14
      agrees with Defendants that this Court did not analyze Farm Forward’s standing under
 15
      the UCL, the statute from which Farm Forward’s cause of action against Defendants
 16
      arises. Therefore, Farm Forward respectfully requests that the Court do so in light of
 17
      California Medical Association v. Aetna Health Care of California.
 18

 19

 20 Dated: September 20, 2023                 ELSNER LAW & POLICY, LLC
 21
                                        By: /s/ Gretchen Elsner
 22                                         Gretchen Elsner (admitted pro hac vice)
 23                                         314 South Guadalupe Street, Suite 123
                                            Santa Fe, NM 87501
 24                                         Telephone: (505) 303-0980
 25                                         gretchen@elsnerlaw.org
 26

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  1                                    GRIME LAW, LLP
                                       Paige M. Tomaselli (SBN 237737)
  2                                    Dylan D. Grimes (SBN 302981)
  3                                    730 Arizona Avenue
                                       Santa Monica, CA 90401
  4                                    Telephone: (310) 747-5095
  5                                    ptomaselli@grimelaw.com
                                       dgrimes@grimelaw.com
  6

  7                                    SUGERMAN DAHAB
                                       David F. Sugerman (pro hac vice)
  8                                    Nadia H. Dahab (pro hac vice)
  9                                    707 SW Washington St. Ste. 600
                                       Portland, OR 97205
 10                                    Tel: (503) 228-6474
 11                                    david@sugermandahab.com
                                       nadia@sugermandahab.com
 12

 13                                    Attorneys for Plaintiffs
                                       SARA SAFARI, PEYMON KHAGHANI
 14                                    and FARM FORWARD
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